                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

In re: JIT INDUSTRIES, INC.               )
       EIN: xx-xxx7267                    )          Case No.: 18-80892-CRJ-11
                                          )
            Debtor.                       )          CHAPTER 11
                                          )




          DEBTOR’S SECOND AMENDED DISCLOSURE STATEMENT
       PURSUANT TO SECTION 1125 OF THE BANKRUPTCY CODE WITH
            RESPECT TO DEBTOR’S PLAN OF REORGANIZATION




                                        SPARKMAN, SHEPARD & MORRIS, P.C.
                                        P. O. Box 19045
                                        Huntsville, AL 35804
                                        Tel: (256) 512-9924
                                        Fax: (256) 512-9837

                                        Attorneys for Debtor-in-Possession




Dated: December 27, 2018




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       EIN: xx-xxx7267                        )           Case No.: 18-80892-CRJ-11
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          SECOND AMENDED DISCLOSURE STATEMENT PURSUANT TO
              SECTION 1125 OF THE BANKRUPTCY CODE WITH
             RESPECT TO DEBTOR’S PLAN OF REORGANIZATION



THIS SECOND AMENDED DISCLOSURE STATEMENT HAS BEEN PREPARED BY
THE DEBTOR AND DESCRIBES THE TERMS AND PROVISIONS OF THE DEBTOR’S
PLAN OF REORGANIZATION (THE "PLAN"). ANY TERM USED IN THIS
DISCLOSURE STATEMENT THAT IS NOT DEFINED HEREIN HAS THE MEANING
ASCRIBED TO THAT TERM IN THE PLAN.

                                           I.
                                     INTRODUCTION

       This Amended Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code
with respect to the Debtor’s Plan of Reorganization (the "Disclosure Statement") relates to the
Debtor’s Plan of Reorganization (the "Plan").

THE DEBTOR BELIEVES THAT THE PLAN IS IN THE BEST INTERESTS OF
CREDITORS AND INTEREST HOLDERS, AND URGES ALL CREDITORS TO VOTE
IN FAVOR OF THE PLAN. CREDITORS ARE ENCOURAGED TO READ AND
CONSIDER CAREFULLY THIS ENTIRE DISCLOSURE STATEMENT, INCLUDING
THE PLAN OF REORGANIZATION ATTACHED HERETO.

OBJECTIONS TO CONFIRMATION OF THE PLAN MUST BE IN WRITING, STATE
THE NATURE AND AMOUNT OF CLAIMS OR INTERESTS HELD OR ASSERTED BY
THE OBJECTOR AGAINST THE DEBTOR’S ESTATE OR PROPERTY, THE BASIS
FOR THE OBJECTION, AND THE SPECIFIC GROUNDS THEREFOR, AND SHALL BE
FILED WITH THE COURT AND SERVED UPON THE DEBTOR AND THEIR
COUNSEL IN THE MANNER SET FORTH IN THE ORDER TO BE ISSUED BY THE
BANKRUPTCY COURT UPON APPROVAL OF THIS DISCLOSURE STATEMENT.

NO PERSON IS AUTHORIZED BY THE DEBTOR TO GIVE ANY INFORMATION OR
MAKE ANY REPRESENTATIONS IN CONNECTION WITH THE PLAN OR THE
SOLICITATION OF ACCEPTANCES OF THE PLAN OTHER THAN AS CONTAINED
IN THIS DISCLOSURE STATEMENT AND THE ATTACHMENTS HERETO. THE
DELIVERY OF THIS DISCLOSURE STATEMENT WILL NOT UNDER ANY

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CIRCUMSTANCES IMPLY THAT ALL OF THE INFORMATION IS CORRECT AS OF
ANY TIME SUBSEQUENT TO THE DATE HEREOF.

INFORMATION CONTAINED HEREIN REGARDING THE DEBTOR, ITS BUSINESS,
ASSETS AND LIABILITIES HAS BEEN PROVIDED BY THE DEBTOR. WHERE
STATED, THE DEBTOR HAS RELIED ON INFORMATION PROVIDED BY
ADVISORS. THE DEBTOR DISCLAIMS ANY RESPONSIBILITY FOR THE
ACCURACY OF THAT INFORMATION. THE DEBTOR AND ITS ADVISORS ARE
UNAWARE OF ANY FALSE OR MISLEADING STATEMENT THAT WOULD
MATERIALLY AFFECT A HYPOTHETICAL, INFORMED INVESTOR'S
DETERMINATION ON HOW TO VOTE ON THE PLAN.

THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE SECURITIES
AND EXCHANGE COMMISSION ("SEC"), NOR HAS THE SEC PASSED UPON THE
ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED HEREIN.

                                 II.
          GENERAL INFORMATION CONCERNING THE DEBTOR AND
       CERTAIN EVENTS PRECEDING THE DEBTOR’S CHAPTER 11 FILING

A.     General Description of the Debtor’s Pre-Petition Business.

       JIT Industries, Inc. (the “Debtor” and “JIT”) is headquartered in the town of Hartselle in
Morgan County, Alabama. Hartselle has a population of roughly 14,500 citizens and is
approximately twelve miles South of Decatur, Alabama.

       The Debtor was formed as an Alabama corporation on June 13, 2001 and is owned by
Ginger and Matthew McComb (“Mrs. McComb” and “Mr. McComb”). The Debtor’s primary
business is the manufacture, repair and delivery of cylinders for commercial use. The Debtor
conducts its operations primarily in Hartselle, Alabama and ships products to customers
worldwide.

        The Debtor filed this Chapter 11 case as means of protection from creditors and continued
state court action while sorting out the resulting confusion in an orderly and fair manner. The
confusion arose after over two years of litigation in state court regarding the ownership of JIT
Military Sales. Prior to the judgment, the Debtor believed JIT Military Sales to be a division of the
Debtor. As such, all credit accounts of JIT Military Sales were associated with the Debtor and its
tax identification number. It was determined in state court the Debtor was only a 10% owner of
JIT Military Sales with Rod Hill, Phillip Hill, and Danny Overbee (hereafter the “Receiver
Partners”) owning the remaining 90%. The state trial court also granted the dissolution of JIT
Military Sales and put JIT Military Sales into receivership. The initial receiver, Kevin Heard, was
subsequently replaced by court order with the Receiver Partners.

        The order declaring the ownership and granting dissolution of JIT Military Sales also
included language restricting actions taken by the Debtor concerning the business of JIT Military
Sales. In an effort to comply with the order, Debtor did not send notice of the order or explanation
of the order’s ramifications to its JIT Military Sales creditors prior to the filing of the Chapter 11
case. When JIT Military Sales creditors contacted the Debtor directly, they were generally referred

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to the Receiver Partner’s attorney of record in the state court action.

        On or about May 23, 2017, the funds in the JIT Military Sales bank account were ordered
released to the Receiver Partners who are also creditors in the instant case. The order releasing the
funds of JIT Military Sales included instructions to use the funds for the operation of JIT Military
Sales and the winding up of the business. While the Receiver Partners took control of the JIT
Military Sales account, the winding up was never effectuated, and the creditors of JIT Military
Sales were left unpaid. Because of the association of the debts of JIT Military Sales with the Debtor
and its tax identification number, the unpaid creditors began contacting the Debtor. After being
bombarded with creditor communications for the debts of JIT Military Sales, experiencing a
decline of credit availability due to the defaulted debts of JIT Military Sales, and facing execution
on a judgment obtained in state court, the Debtor filed this Chapter 11 case.

        The Debtor’s business is now viable and ongoing, and the Debtor continues to function as
Debtor-in-Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code. During the
pendency of this case, the Debtor has continued business operations, paid its ongoing operating
expenses, and kept up with its 11 U.S.C. § 503 administrative expenses. While in Chapter 11 and
protected by the 11 U.S.C. § 362 Automatic Stay from immediate creditor actions, the Debtor has
built-up a cash reserve, as reflected below. However, cash reserves are necessary for large orders
requiring the purchase of large quantities of materials needed for production of items ordered by
customers. This need for cash reserves is especially true because the Debtor does not have access
to the credit to which it was once accustomed. The Debtor further expects its profitability to
increase as its focus is now directed on running the business efficiently as it has obtained legal
counsel to bear the burden of sorting out the quagmire of confusion caused by the ramifications of
the state court judgment and subsequent defaulted debts of JIT Military Sales.

B.     Financial Condition of the Debtor; Events Necessitating Chapter 11 Protection.

         Litigation, being associated with debt from another JIT Military Sales, and the diminished
ability to obtain trade credit was a significant challenge to the Debtor. In addition, the Debtor lost
the income from JIT Military Sales after the state court determined the Debtor was merely a 10%
shareholder instead of the sole owner of JIT Military Sales.

        Despite the adversity experienced over the past several years, the Debtor is currently
experiencing positive cash flow. The end of litigation, the relief from collections communications
provided by bankruptcy protection, and the focus on core business activities, has resulted in a
better operating situation overall. As seen in the Debtor’s financial projections attached and
discussed in the sections below, it expects growing profitability in the years to come to allow it to
meet its Plan obligations. A summary of the Debtor’s monthly operating reports is attached hereto
collectively as Exhibit “A.”

        Because the Debtor anticipates a positive cash flow, it anticipates being able to pay all
administrative expenses in cash upon confirmation of the Plan of Reorganization without any
significant diminution to the Estate.




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C.     Debtor’s Ownership and Management History.

        As stated above, the Debtor is an Alabama corporation wholly owned by Mrs. McComb
and Mr. McComb. Mrs. McComb holds 51% of the shares in the corporation and Mr. McComb
holds 49%. Mr. McComb has served as the entity’s Secretary since the entity’s formation and
currently serves as its Registered Agent. Mrs. McComb has served as the entity’s President since
the entity’s formation. Aside from Mrs. McComb and Mr. McComb, the Debtor has no other
shareholders, officers, or directors. Mr. and Mrs. McComb are each paid a bi-weekly salary of
$4,807.70 ($125,000.02 per year) for their services rendered as employees, officers, and directors
of the Debtor. The Debtor currently has approximately 10 employees, with some variance for
temporary workers.

        At this time, the Debtor has no plans to augment the salaries paid to any of its employees,
officers, or directors.

       The Debtor projects, following confirmation of the Plan, Mrs. McComb and Mr. McComb
will remain the entity’s only shareholders and each will retain their respective titles for the
foreseeable future. The Debtor’s owners intend to hire new employees as the need arises from
continued new orders for manufacture, repair, and delivery.

D.     Debtor’s Economic Impact on a Local to National Scale.

        The Debtor uses a small local bank where deposits of all business revenue are made. Local
metal suppliers, machine shops, and metal processing businesses are used weekly as well. The
Debtor services local, state and national industries that require quick and immediate cylinder repair
to restore machines within their business to operate smoothly. When machines are down, the
Debtor’s Original Equipment Manufacturing (“OEM”) customers can lose up to $10,000.00 an
hour waiting for cylinders to be replaced or repaired so the customer can continue production.

        The Debtor uses its 17 years of knowledge, drawings, and experience to repair cylinders
efficiently and quickly for this purpose. The Debtor’s ability to quickly repair cylinders reduces
the down time for other business in the area and nationally allowing the business to continue
producing and the businesses’ employees to continue working.

       The Debtors OEM customers include, but not limited to: car manufacturing, steel
manufacturing, wood manufacturing and oil production. All of these customers have cylinders
engineered by the Debtor. These cylinders would require redesign by other cylinder companies to
continue their use in the future.

        The Debtor provides cylinders and cylinder repair for the small business owners as well.
Local excavators, farmers, and other small manufacturing shops have needs that the Debtor is able
to provide at its facility. This allows these customers a local facility to restore their own equipment
without incurring expensive shipping charges and to continue their business.




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                                           III.
                                   THE CHAPTER 11 CASE

A. Commencement of the Case.

        On March 23, 2018, the Debtor commenced with this Court a voluntary case under Chapter
11 of the Bankruptcy Code. The Debtor continues to operate the business as Debtor-in-Possession
pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

B.     First Day Relief.

         Soon after the Petition Date, the Debtor sought a variety of forms of relief, typically
referred to as "First Day" relief, although the hearings took place over the next several weeks.
Initially, the Debtor sought and the Court approved the retention of Sparkman, Shepard & Morris,
P.C., as bankruptcy counsel.

       In addition, the Debtor received the Court's approval of a variety of routine motions
allowing it, among other things, to fix the procedure for periodic interim allowance of
compensation and expenses for the Debtor’s attorneys.

C.     Formation of Unsecured Creditors' Committee.

        Soon after the commencement of this case, the Bankruptcy Administrator for the Northern
District of Alabama sent out a letter soliciting participation by the Debtor’s unsecured creditors
for an Official Committee of Unsecured Creditors. However, due to the meager response, the
Bankruptcy Administrator did not appoint an Unsecured Creditors' Committee in this case.

D.     Significant Events During the Case.

       Since the beginning of this case in Chapter 11, the majority of the Debtor’s attention and
resources have been focused on running the business and reviewing creditor claims.

        The Debtor filed an adversary proceeding complaint on April 24, 2018 against the Internal
Revenue Service, State of Alabama Department of Revenue, JIT Military Sales, an Alabama
general partnership, Rod Hill, Philp Hill, and Danny Overbee. Following initial discovery and
discussions with the U.S. Attorney’s office on behalf of the Internal Revenue Service, the Debtor
resolved many of the matters at issue in this case. Further, the Debtor continues to work to the
administrative process to resolve any remaining issues related to the Debtor’s use of net operating
losses on its tax returns in future years.

        On July 9, 2018, the Debtor filed an adversary proceeding complaint against Wells Fargo
Financial Leasing, Inc., Spectrum Mfg. & Sales, Inc., Cavanaugh Government Group, LLC, MSC
Industrial Supply, JIT Military Sales, American Express Bank FSB, B.W. Elliott manufacturing
Co., LLC, Portfolio Recovery Associates, LLC, the City of Huntsville, Lynda Hall, Tax Collector,
and Robertson Fuel Systems, LLC. In this lawsuit, the Debtor alleged that it was not indebted to
any of the above-listed creditors and instead any debt these entities were owed should be the
obligations of JIT Military Sales. As of the filing of this Disclosure Statement, the Debtor has


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resolved its claims against all of these entities except JIT Military Sales and American Express
Bank FSB.

       Aside from engaged in normal operations, as otherwise discussed in this Disclosure
Statement, the Debtor reports no other significant events occurring during the pendency of this
case.

E.     Assets and Liabilities of the Debtor.

       1.      Debtor’s Major Assets.

               a.      Unrestricted Cash and Short Term Investments.

        Debtor had approximately $907.53 in cash and bank accounts as reflected by the Debtor’s
filed Schedule B as of the petition filing date.

               b.      Real Estate.

       The Debtor does not own any real property.

               c.      Personal Property.

       As of the petition filing date, the Debtor had inventory and work in progress it valued at
$115,000.00, office equipment it valued at $1,025.00, heavy equipment it valued at $74,350.00,
and intellectual property it valued at $218.00, as reflected by the Debtor’s filed Schedule B. The
Debtor has since amended its filed Schedule B based on the valuations of an expert witness
employed in this case. The Debtor has agreed with its only secured creditor class that the value of
the Debtor’s personal property subject to those creditors’ judgment lien is $100,000.00.

               d.      Accounts Receivable.

       The Debtor had $77,340.00 accounts receivable under 90 days old and $47,713.21 in
account receivable over 90 days old for total accounts receivable of $125,053.21, as reflected by
the Debtor’s filed Schedule B as of the petition filing date.

               e.      Causes of Action.

        The Debtor is currently investigating a potential lawsuit against creditors Rod Hill, Philip
Hill, and Danny Overbee for breach of fiduciary duty, preferential transfers, and fraudulent
conveyances. A memorandum of pertinent facts is attached here to as Exhibit “B.”

        Other than the adversary proceedings mentioned in this section, the Debtor is not aware of
any causes of action, and no other adversary proceedings or state court actions are pending.
However, the Debtor continues to investigate possible causes of action or setoffs it might have.
        With respect to possible preference actions, any entity or person who received a payment
or other property from the Debtor within the 90 days before the Petition Date (or one year before
the Petition Date if the entity or person is an insider, as defined in Section 547(b)(4)(B) of the


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Bankruptcy Code) is a potential target by the Debtor for a preference action under Section 547 of
the Bankruptcy Code.

      The Debtor is evaluating the scheduled and filed claims, including priority tax claims, and
may object to these claims either before or after confirmation. All causes of action of the Debtor,
whether arising under the Bankruptcy Code or otherwise, are reserved and retained by the Debtor.

       2.      Liabilities.

      As of the Petition Date, the Debtor’s non-title vehicle equipment and inventory were
encumbered by a judgment lien for approximately $1.1 million in favor of Rod Hill, Philip Hill,
and Danny Overbee. Unsecured priority and general debts totaled approximately $50,000.00.

                                           IV.
                                     SUMMARY OF PLAN

A.     Overview.

THIS SECTION PROVIDES A SUMMARY OF THE CLASSIFICATION AND
TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN AND THE MEANS
FOR IMPLEMENTATION OF THE PLAN, AND IS QUALIFIED IN ITS ENTIRETY BY
REFERENCE TO THE PLAN AND TO THE OTHER EXHIBITS ATTACHED
THERETO. ALL CAPITALIZED TERMS USED BUT NOT DEFINED IN THIS
SECTION HAVE THE MEANINGS ASCRIBED TO SUCH TERMS IN THE PLAN.
B.   Treatment of Administrative Expense Claims and Priority Tax Claims.

       1.      Administrative Expense Claims.

        Except to the extent that a holder of an Allowed Administrative Expense Claim has been
paid by a Debtor prior to the Effective Date or agrees to less favorable treatment, each holder of
an Allowed Administrative Expense Claim shall receive Cash from the Debtor obligated for the
payment of such Allowed Administrative Expense Claim in an amount equal to the Allowed
amount of such Administrative Expense Claim on the later of the Effective Date and the date such
Administrative Expense Claim becomes an Allowed Administrative Expense Claim, or as soon
thereafter as is practicable; provided, however, that Allowed Administrative Expense Claims
representing liabilities incurred in the ordinary course of business by a Debtor or other obligations
incurred by such Debtor shall be paid in full and performed by such Debtor in the ordinary course
of business in accordance with the terms and subject to the conditions of any agreements
governing, instruments evidencing, or other documents relating to such transactions.

       2.     Professional Compensation and Reimbursement Claims.

       Other than a professional retained by the Debtor pursuant to the Ordinary Course
Professional Order, any entity seeking an award of the Bankruptcy Court of compensation for
services rendered and/or reimbursement of expenses incurred on behalf of the Debtor and the
Creditors’ Committee through and including the Effective Date under Section 105(a), 363(b),
503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final
application for allowance of such compensation and/or reimbursement by no later than the date

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that is 120 days after the Effective Date or such other date as may be fixed by the Bankruptcy
Court, and (b) be paid by or on behalf of the Debtor in full and in Cash in the amounts Allowed
upon (i) the date the order granting such award becomes a Final Order, or as soon thereafter as
practicable, or (ii) such other terms as may be mutually agreed upon by the claimant and the Debtor
obligated for the payment of such Allowed Claim. The Debtor is authorized to pay compensation
for professional services rendered and reimburse expenses incurred on behalf of the Debtor and
the Creditors’ Committee after the Effective Date in the ordinary course and without Bankruptcy
Court approval.

        The Debtor is aware that it may owe obligations of indemnity and reimbursement to current
management for legal expenses in connection with the following proceedings: American Express
Bank FSB v. Matthew A McComb, et al, 47-CV-2017-901933.00; and Rod Hill, et al v. People’s
Bank of Alabama, et al, 47-CV-2017-901539.00. Such obligations will be satisfied to the extent
claimants comply with the Plan, applicable law, and the Debtor is ordered to pay such claims.
Following satisfaction of all requisites for any such claims for reimbursement and passing of the
Effective Date, the Debtor will immediately tender payment to the claimants.

        3.      Priority Tax Claim - City of Huntsville.

        City of Huntsville’s priority unsecured claim ($107.44) will be paid in full on the Effective
Date.

C.      Classification and Treatment of Claims and Interests.

        Summary.

         The following is a designation of the classes of Claims and Interests under this Plan. In
accordance with Section 1123(a)(1) of the Bankruptcy Code, Claims that are not impaired have
been noted and will not vote on the Plan. A Claim or Interest is classified in a particular class only
to the extent that the Claim or Interest qualifies within the description of that class, and is classified
in another class or classes to the extent that any remainder of the Claim or Interest qualifies within
the description of such other class or classes. A Claim or Interest is classified in a particular class
only to the extent that the Claim or Interest is an Allowed Claim or Allowed Interest in that class
and has not been paid, released or otherwise satisfied before the Effective Date; a Claim or Interest
which is not an Allowed Claim or Interest is not in any Class. Notwithstanding anything to the
contrary contained in this Plan, no distribution shall be made on account of any Claim or Interest
that is not an Allowed Claim.

        A copy of the clerk’s Claims Register as of October 16, 2018, is attached hereto as Exhibit
“C.” In any instance where the information in a proof of claim listed on the Claims Register differs
from the information in the Debtor’s filed schedules, the information in the proof of claim will be
deemed the correct information for the terms of this Plan. However, the Debtor reserves the right
to object to any filed proof of claim, as more fully explained elsewhere in this Plan.




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        Class            Impairment      Treatment

                                         The creditors in this class’s allowed secured claim
                                         will be paid in full over the course of a 60-month term
                                         with interest accruing at the federal default judgment
                                         rate, with a standard amortization schedule for the
      Class 1 –
                          Claim # 9      term. Except as otherwise provided, this creditor will
   Secured Claim
                          Impaired       retain all security interests in any collateral. The
 (Hill/Hill/Overbee)
                                         interest rate will be set on the Confirmation Date.
                                         New payments will begin on the Effective Date.
                                         (Estimated monthly payment of $1,700.00 for an
                                         allowed secured claim of $100,000.00).


                                        Beginning on the Effective Date, Debtor will begin
                                        making monthly payments of $3,000.00, split on a
                                        pro-rata basis between all creditors in this Class
                                        ($1,100,000.00 in estimated claims in this Class),
     Class 2 –
                       Claims # 3 and 9 until the sum of 20% of the total allowed claims in
 General Unsecured
                           Impaired     this Class are paid. Thereafter, any remaining balance
      Claims
                                        on the claims in this Class will be discharged.
                                        Payments to creditors in class are estimated to last for
                                        a term of 60 months. (Monthly payment of
                                        $3,000.00).


                                         City of Huntsville’s claim totals $157.44, of which
                                         $107.44 is a priority claim and $50.00 in general
                                         unsecured. As stated above, the Debtor will pay the
                                         priority portion in full upon the Effective Date of the
                                         Plan. Under Class 3, the Debtor will pay 20% of the
                                         general unsecured portion of the City of Huntsville’s
                                         claim within ten days of the Effective Date,
                                         whereupon the balance of this claim will be
                                         discharged. (Total payment $117.44).
     Class 3 –
                       Claims # 2 and
 De Minimis Claim                        The Internal Revenue Service’s general unsecured
                         8 Impaired
                                         claim totals $3,120.00. The Debtor will pay 20% of
                                         the allowed claim within ten days of the Effective
                                         Date, whereupon the balance of this claim will be
                                         discharged. (Total payment $624.00).




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                                              Equity interest holders will retain their membership
       Class 4 –
                                              interests in Debtor and, in order to comply with the
  Interests of Equity        Impaired;
                                              new value exception to the absolute priority rule, will
  Interest Holders in      Not Entitled to
                                              contribute the sum of $1,000.00 to the Debtor entity
        Debtor                 Vote
                                              by or before the Plan’s Effective Date.


Note: Provided that all Claims will have been paid to the extent provided for in this Plan, the
Debtor will retain all Assets, subject to all remaining perfected encumbrances, as well as any
remainder of the Estate not otherwise liquidated.

         These figures are based on the Debtor’s proposed specific treatment of each of the claims
in this case as follows:

       Class 1 – Secured Claim (Hill/Hill/Overbee Judgment Creditors)

               a.       Classification:

      Class 1 consists of the secured claim of judgment creditors Rod Hill, Philip Hill, and Danny
Overbee.

               b.       Treatment:

       Class 1 is impaired and, accordingly, the member of Class 1 is entitled to vote on the Plan.

         The creditors in this class’s allowed secured claim will be paid in full over the course of a
60-month term with interest accruing at the federal default judgment rate, with a standard
amortization schedule for the term. Except as otherwise provided, this creditor will retain all
security interests in any collateral. The interest rate will be set on the Confirmation Date. New
payments will begin on the Effective Date. Upon payment of the allowed claims in this class, the
claimants’ secured interest in the Debtor’s property will be immediately discharged. The creditors
in this class will immediately release all liens, certificates of judgments, or any other claims to the
Debtor’s property. Payments to creditors in this class are estimated to last for a term of 60 months.
(Estimated monthly payment of $1,700.00 for an allowed secured claim of $100,000.00).

       Class 2 – General Unsecured Claims

               a.       Classification:

       Class 2 consists of all non-priority, unsecured claims not addressed in the previous classes
described above.




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               b.      Treatment:

        Class 2 is impaired and, accordingly, the holders of Allowed Claims in such Class are
entitled to vote on the Plan. As of the claims bar date, this Class consists of the following claims:

       Harrison Gammons & Rawlinson, P.C.                     $ 47,090.58
       Hill/Hill/Overbee Judgement (unsecured portion)        $ 1,050,000.00 (estimate)

       Beginning on the Effective Date, Debtor will begin making monthly payments of
$3,000.00, split on a pro-rata basis between all creditors in this Class (currently, approximately
$1,100,000.00 in Class claims), until the sum of 20% of the total allowed claims in this Class are
paid. Thereafter, any remaining balance on the claims in this Class will be discharged and the
Debtor will have no obligation to make any further payments. Payments to creditors in class are
estimated to last for a term of 60 months.

      Each holder of an allowed claim in this Class will retain all remedies, including remedies
upon default, available under its original loan documents until the Debtor completes its required
payments to that creditor under the terms of the confirmed Plan.

       Class 3 – De Minimis (City of Huntsville and Internal Revenue Service)

               a.      Classification:

      Class 3 consists of the unsecured priority claim and general unsecured claim of the City of
Huntsville and general unsecured claim of the Internal Revenue Service.

               b.      Treatment:

       Class 3 is impaired and, accordingly, the member of Class 3 is entitled to vote on the Plan.
       City of Huntsville’s claim totals $157.44, of which $107.44 is a priority claim and $50.00
in general unsecured. The Debtor will pay the priority portion in full and 20% of the general
unsecured portion of the claim within ten days of the Effective Date. Thereafter, the remaining
unpaid unsecured portion of this claim will be discharged and the Debtor will have no obligation
to make any further payments. (Total payment $117.40).

       The Internal Revenue Service’s general unsecured claim totals $3,120.00. The Debtor will
pay 20% of the allowed claim within ten days of the Effective Date. Thereafter, the remaining
unpaid unsecured portion of this claim will be discharged and the Debtor will have no obligation
to make any further payments. (Total payment $624.00).

       Class 4 – Interests of Equity Interest Holders in Debtor

               a.      Classification:

        Class 4 is impaired but the members of this class are insiders of the Debtor who are not
entitled to vote on the Plan.



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               b.      Treatment:

       Equity interest holders will retain their membership interests in the Debtor and, in order to
comply with the new value exception to the absolute priority rule, will contribute the sum of
$1,000.00 to the Debtor entity by the Plan’s Effective Date. Procedures for determination and
contribution of new value are explained in detail on page 22 of this Amended Disclosure
Statement.

D.     Acceptance or Rejection of the Plan.

        The holders of Claims in all impaired Classes listed above shall be entitled to vote to accept
or reject the Plan.

E.     Means for Execution and Implementation of the Plan.

       1.      Funding of the Distribution.

      On the Effective Date, the Debtor shall first fund payments to the holders of Allowed
Administrative Claims.

       2.      “New Value” To Be Contributed by Members.

       Because the “New Value” rule will apply, the equity security holders will contribute
$1,000.00 by the effective Date of the Plan. Procedures for determination and contribution of new
value are explained in detail on page 22 of this Amended Disclosure Statement.

       3.       Corporate Action.

       On the Effective Date, the Debtor shall be authorized and directed to take all necessary and
appropriate actions to effectuate the transactions contemplated by the Plan and Disclosure
Statement.
       4.     Preservation of Rights of Action.

        Except as otherwise provided in the Plan, or in any contract, instrument, release, or other
agreement entered into in connection with the Plan in accordance with Section 1123(b) of the
Bankruptcy Code, the Debtors shall retain and may enforce any claims, rights and causes of action
that the Debtor or the Estate may hold against any entity, including, without limitation, any claims,
rights or causes of action arising under Sections 544 through 551 or other sections of the
Bankruptcy Code or any similar provisions of state law, or any other statute or legal theory. The
Debtor or any successor to or designee thereof may pursue those rights of action, as appropriate,
in accordance with what is in the best interests of the Debtor.

       5.      Objections to Claims.

        Except as otherwise provided for with respect to applications of professionals for
compensation and reimbursement of expenses under Article 3 of the Plan, or as otherwise ordered
by the Bankruptcy Court after notice and a hearing, objections by any party other than the Debtor
to filed Claims shall be Filed and served upon the holder of such Claim or Administrative Claim

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not later than the Effective Date, unless this period is extended by the Court. Such extension may
occur ex parte. After the Effective Date, only the Debtor shall have the exclusive right to object to
Claims.

F.     Funding and Methods of Distribution and Provisions for Treatment of Disputed
       Claims.

       1.      Funding of Distributions under the Plan.

        The Debtor’s normal cash flow and contributions of new value by equity security holders
shall be the sole source of funds for the payments to creditors authorized by the U.S. Bankruptcy
Court’s confirmation of this Plan. The Debtor reserves the right to sell collateral for the purpose
of providing some funding for the Plan as the Debtor deems necessary.

       2.      Distributions to Holders of Allowed Administrative Expense Claims.

        Commencing on the Effective Date, the Debtor shall, in accordance with the Plan,
distribute to each holder of a then unpaid Allowed Administrative Expense Claim in the Allowed
amount of such holder's Claim if and to the extent that the balance, if any, of such Claim is Allowed
by Final Order. The Debtor shall not tender a payment to the holders of Allowed Administrative
Expense Claims until all Disputed Claims that are alleged to be Administrative Claims have been
allowed or disallowed.

       3.      Disputed Claims.

        Notwithstanding any other provisions of the Plan, no payments or distributions shall be
made on account of any Disputed Claim until such Claim becomes an Allowed Claim, and then
only to the extent that it becomes an Allowed Claim.

       4.      Delivery of Distributions and Undeliverable or Unclaimed Distributions;
               Failure to Negotiate Checks.

       The Plan established procedures for the delivery of distributions and for the disposition of
undeliverable distributions and checks that are not timely negotiated.

       5.      De Minimis Distributions.

       No Cash payment of less than twenty dollars ($20.00) shall be made to any holder on
account of an Allowed Claim unless a request therefor is made in writing to the Debtor.

       6.      Compliance with Tax Requirements.

        In connection with the Plan, to the extent applicable, the Debtor shall comply with all
withholding and reporting requirements imposed on it by any governmental unit, and all
distributions pursuant to the Plan shall be subject to such withholding and reporting requirements.




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        7.      Setoffs.

        Unless otherwise provided in a Final Order or in this Plan, the Debtor may, but shall not
be required to, set off against any Claim and the payments to be made pursuant to the Plan in
respect of such Claim, any claims of any nature whatsoever the Debtor may have against the holder
thereof or its predecessor, but neither the failure to do so nor the allowance of any Claim hereunder
shall constitute a waiver or release by the Debtor of any such Claims the Debtor may have against
such holder or its predecessor.

G.      Treatment of Executory Contracts and Unexpired Leases.

        The Plan constitutes and incorporates a motion by the Debtor to reject, as of the Effective
Date, all pre-petition executory contracts and unexpired leases to which the Debtor is a party,
except for any executory contract or unexpired lease that (i) has been assumed or rejected pursuant
to a Final Order, or (ii) is the subject of a pending motion for authority to assume the contract or
lease filed by the Debtor prior to the Confirmation Date. The Plan establishes a bar date for filing
Rejection Claims not already barred.

H.      Effects of Plan Confirmation.

        1.      No Liability for Solicitation or Participation.

        As specified in Section 1125(e) of the Bankruptcy Code, Persons that solicit acceptances
or rejections of the Plan and/or that participate in the offer, issuance, sale, or purchase of securities
offered or sold under the Plan, in good faith and in compliance with the applicable provisions of
the Bankruptcy Code, are not liable, on account of such solicitation or participation, for violation
of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or the offer, issuance, sale, or purchase of securities.

        2.      Limitation of Liability.

        Neither the Debtor and any professional Persons retained by them; any of their affiliates
nor any of their officers, directors, partners, associates, employees, members or agents
(collectively the "Exculpated Persons"), shall have or incur any liability to any Person for any act
taken or omission made in good faith in connection with or related to the Bankruptcy Case or
actions taken therein, including negotiating, formulating, implementing, confirming or
consummating the Plan, the Disclosure Statement, or any contract, instrument, or other agreement
or document created in connection with the Plan. The Exculpated Persons shall have no liability
to any Creditors or Equity Security Holders for actions taken under the Plan, in connection
therewith or with respect thereto in good faith, including, without limitation, failure to obtain
Confirmation of the Plan or to satisfy any condition or conditions, or refusal to waive any condition
or conditions, precedent to Confirmation or to the occurrence of the Effective Date. Further, the
Exculpated Persons will not have or incur any liability to any holder of a Claim, holder of an
Interest, or party-in-interest herein or any other Person for any act or omission in connection with
or arising out of their administration of the Plan or the property to be distributed under the Plan,
except for gross negligence or willful misconduct as finally determined by the Bankruptcy Court,
and in all respects such persons will be entitled to rely upon the advice of counsel with respect to
their duties and responsibilities under the Plan.

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        3.      Other Documents and Actions.

        The Debtor as Debtor-In-Possession may execute such documents and take such other
action as is necessary to effectuate the transactions provided for in the Plan.

        4.      Term of Injunctions or Stays.

       Unless otherwise provided, all injunctions or stays provided for in the Reorganization Case
pursuant to Sections 105 or 362 of the Bankruptcy Code or otherwise and in effect on the
Confirmation Date shall remain in full force and effect until the Effective Date.

        So long as the Debtor’s Chapter 11 case is not dismissed, the protections afforded it by 11
U.S.C. § 362 will remain in full effect to stay all collection actions of any pre-petition debts, claims,
liens, or other related occurrences against the Debtor, the bankruptcy estate, or property of the
bankruptcy estate for the pendency of its Chapter 11 Plan.
I.      Confirmability of Plan and Cramdown.

        The Debtor requests Confirmation under Section 1129(b) of the Bankruptcy Code if any
impaired class does not accept the Plan pursuant to Section 1126 of the Bankruptcy Code. In that
event, the Debtor reserves the right to modify the Plan to the extent, if any, that Confirmation of
the Plan under Section 1129(b) of the Bankruptcy Code requires modification.

J.      Retention of Jurisdiction.

        The Plan provides for the Bankruptcy Court to retain the broadest jurisdiction over the
reorganization case as is legally permissible so that the Bankruptcy Court can hear all matters
related to the consummation of the Plan, the claims resolution process, and the administration of
the Chapter 11 Estate.

K.      Default and Opportunity to Cure.

       During the pendency of this Plan, should any party-in-interest aver that the Debtor
has materially defaulted to any of its obligations under this Plan, such party must give
written notice of the default to the Debtor and the Debtor’s Counsel listed below. The Debtor
will have 21 days from receipt of the notice to cure any such default. If the Debtor fails to
cure within this 21-day deadline, the party giving notice of the default may proceed
accordingly with any legal rights available under applicable law.

L.      Notices.

        Notices to be provided under this Plan shall be transmitted to the Debtor by service to both
of the following addresses:




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       JIT Industries, Inc.
       c/o Their Attorneys
       SPARKMAN, SHEPARD & MORRIS, P.C.
       P.O. Box 19045
       Huntsville, AL 35804

       and

       JIT Industries, Inc.
       P.O. Box 2023
       Madison, AL 35758

                                 V.
        CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain federal income tax aspects of the Plan
and is for general information only. This discussion is based upon existing provisions of the
Internal Revenue Code of 1986, as amended ("IRC"), existing regulations thereunder, and current
administrative rulings and court decisions. No assurance can be given that legislative or
administrative changes or court decisions may not be forthcoming which would require significant
modification of the statements expressed in this section. The discussion does not address foreign,
state or local tax consequences of the Plan, nor does it purport to address the federal tax
consequences of the Plan to special classes of taxpayers (such as foreign companies, nonresident
alien individuals, S corporations, mutual funds, insurance companies, financial institutions, small
business investment companies, regulated investment companies, broker-dealers and tax-exempt
organizations). Accordingly, it should not be relied upon for purposes of determining the specific
tax consequences of the Plan with respect to a particular holder of a Claim or Interest.

       Due to the complexity of the transactions to be consummated pursuant to the Plan, some
of which are discussed below; the lack of applicable legal precedent and the possibility of changes
in law; differences in the nature of various Claims; differences in individual Claim holders'
methods of accounting; and the potential for disputes as to legal and factual matters, the federal
income tax consequences described herein are subject to significant uncertainties.

NO RULING HAS BEEN SOUGHT OR OBTAINED FROM THE IRS WITH RESPECT
TO ANY OF THE TAX ASPECTS OF THE PLAN AND NO OPINION OF COUNSEL HAS
BEEN   OBTAINED     BY  DEBTOR     WITH    RESPECT   THERETO.    NO
REPRESENTATIONS OR ASSURANCES ARE BEING MADE WITH RESPECT TO
THE FEDERAL INCOME TAX CONSEQUENCES AS DESCRIBED HEREIN. CERTAIN
TYPES OF CLAIMANTS AND INTEREST HOLDERS MAY BE SUBJECT TO SPECIAL
RULES NOT ADDRESSED IN THIS SUMMARY OF FEDERAL INCOME TAX
CONSEQUENCES. THERE ALSO MAY BE STATE, LOCAL, OR FOREIGN TAX
CONSIDERATIONS APPLICABLE TO A HOLDER OF A CLAIM OR INTEREST THAT
ARE NOT ADDRESSED HEREIN. EACH HOLDER OF A CLAIM OR INTEREST
AFFECTED BY THE PLAN MUST CONSULT, AND RELY UPON, HIS OR HER OWN
TAX ADVISOR REGARDING THE SPECIFIC TAX CONSEQUENCES OF THE PLAN
WITH RESPECT TO THAT HOLDER'S CLAIM OR INTEREST. THIS INFORMATION


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MAY NOT BE USED OR QUOTED IN WHOLE OR IN PART IN CONNECTION WITH
THE OFFERING FOR SALE OF SECURITIES.

A.     Federal Income Tax Consequences to Debtor.

        Under the Plan, the Debtor will be paying Plan liabilities from normal cash flow. There
should be no net operating profit or loss to the Debtor following the Effective Date resulting from
the transactions contemplated by the Plan.

B.     Federal Income Tax Consequences to Holders of Claims.

       1.      Holders of Claims.

        Holders of Claims will recognize a gain or loss equal to their respective amounts realized
(if any) under the Plan in respect of their Claims less their respective tax bases in their Claims.
The amounts realized for this purpose generally will equal the sum of the cash and the fair market
value of any other consideration received under the Plan in respect of their Claims. The
recognition of gain or loss by a holder of Claims may also be affected by the holder's accounting
method and other factors and circumstances particular to such holder.

        Holders of Claims not previously required to include in their taxable income any accrued
but unpaid interest on a Claim may be treated as receiving taxable interest, to the extent any
consideration they receive under the Plan is allocable to such accrued but unpaid interest. Holders
previously required to include in their taxable income any accrued but unpaid interest on a Claim
may be entitled to recognize a deductible loss, to the extent that such accrued but unpaid interest
is not satisfied under the Plan.

C.     Backup Withholding and Information Reporting.

        Payors of interest, dividends, and certain other reportable payments are generally required
to withhold thirty-one percent (31%) of such payments if the payee fails to furnish such payee's
correct taxpayer identification number (social security number or employer identification number),
to the payor. The Debtor may be required to withhold a portion of any payments made to a holder
of an Allowed Claim that does not provide its taxpayer identification number.

D.     Importance of Obtaining Professional Tax Assistance.

THE FOREGOING IS INTENDED AS A SUMMARY ONLY, AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL. THE
FEDERAL, STATE AND LOCAL INCOME AND OTHER TAX CONSEQUENCES OF
THE PLAN ARE COMPLEX AND, IN SOME CASES, UNCERTAIN. SUCH
CONSEQUENCES MAY ALSO VARY BASED ON THE PARTICULAR
CIRCUMSTANCES OF EACH CLAIM HOLDER. ACCORDINGLY, EACH CLAIM
AND INTEREST HOLDER IS STRONGLY URGED TO CONSULT WITH HIS, HER OR
ITS OWN TAX ADVISOR REGARDING THE FEDERAL, STATE AND LOCAL
INCOME AND OTHER TAX CONSEQUENCES UNDER THE PLAN.



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                                    VI.
             VOTING PROCEDURES AND CONFIRMATION REQUIREMENTS.

A.      Confirmation of the Plan.

        1.      Confirmation Hearing.

        Section 1128 of the Bankruptcy Code requires the Court, after notice, to hold a hearing on
whether the Plan and its proponents have fulfilled the confirmation requirements of Section 1129
of the Bankruptcy Code. A hearing (the "Confirmation Hearing") to consider confirmation of the
Plan will be scheduled at the United States Bankruptcy Court for the Northern District of Alabama.
The Confirmation Hearing may be adjourned from time to time by the Court without further notice
except for the announcement of the adjourned date at the Confirmation Hearing.

        Any objection to confirmation must be made in writing and must specify in detail the name
and the address of the Person objecting, the grounds for the objection and the nature and amount
of the Claim or Interest held by the objector. Any such objection must be filed with the Court and
served upon the parties designated in the notice of the confirmation hearing (the "Confirmation
Notice") on or before a date which will be specified in the Order approving this Disclosure
Statement. Unless an objection to confirmation is timely served and filed, it will not be considered
by the Court.
        2.     Requirements for Confirmation of the Plan.

        In order to confirm the Plan, the Bankruptcy Code requires that the Court make a series of
findings concerning the Plan and the Debtor, including that: (a) Claims and Interests are classified
in the Plan in a permissible manner; (b) the Plan complies with the applicable provisions of the
Bankruptcy Code; (c) the Debtor has complied with applicable provisions of the Bankruptcy Code;
(d) the Debtor has proposed the Plan in good faith and not by any means forbidden by law; (e) the
disclosure required by Section 1125 of the Bankruptcy Code has been made; (f) the Plan has been
accepted by the requisite majorities of holders of Claims and Interests in each impaired Class of
Claims or Interests, or, if accepted by at least one but not all of such Classes, is "fair and equitable,"
and does not discriminate unfairly as to any non-accepting class, as required by the "cramdown"
provisions of Section 1129(b) of the Bankruptcy Code; (g) the Plan is feasible; (h) the Plan is in
the "best interests" of all holders of Claims and Interests in an impaired class by providing to such
holders property of a value, as of the Effective Date, that is not less than the amount that such
holder would receive or retain in a Chapter 7 liquidation, unless each holder of a Claim or Interest
in such Class has accepted the Plan; and (i) all bankruptcy fees payable to the Clerk of the Court
and the U.S. Trustee under 28 U.S.C. Sec. 1930 have been paid, or the Plan provides for the
payment of such fees on the Effective Date.

                a.      Acceptance.

        Pursuant to Section 1126 of the Bankruptcy Code, the Plan is accepted by an impaired
Class of Claims if holders of two-thirds in dollar amount and a majority in number of Claims of
that Class vote to accept the Plan. Only the votes of those holders of Claims who actually vote
(and are entitled to vote) to accept or reject the Plan count in this tabulation. The Plan will be
accepted by an impaired Class of Interests if holders of two-thirds of the amount of outstanding
shares in such class vote to accept the Plan (and only those voting count in the tabulation). Pursuant

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to Section 1129(a)(8), all the impaired Classes of Claims and Interests must vote to accept the Plan
in order for the Plan to be confirmed on a consensual basis (and at least one such Impaired Class
must accept the Plan without including the acceptance by an insider). However, under the
cramdown provisions of Section 1129(b), only one impaired Class of Claims (determined without
including the acceptance by an insider) needs to accept the Plan if the other conditions to
cramdown are met.

       The Plan has three Classes of Claims which are Impaired and are entitled to vote on the
Plan (Classes 1 through 3).

                b.      Best Interests Test/Liquidation Analysis.

        Notwithstanding the acceptance of the Plan by each Impaired Class, Section 1129(a)(7) of
the Bankruptcy Code requires that the Bankruptcy Court determine that the Plan is in the best
interests of each holder of a Claim or Interest in an Impaired Class if any holder in that Class has
voted against the Plan. Accordingly, if an Impaired Class under the Plan does not unanimously
accept that Plan, the "best interests" test requires that the Bankruptcy Court find that the Plan
provides to each member of such Impaired Class a recovery on account of the member's Claim or
Interest that has a value, as of the Effective Date, that is not less than the value of the distribution
that each such member would receive or retain if Debtor were liquidated under Chapter 7 of the
Bankruptcy Code commencing on the Effective Date.

        To determine what members of each impaired Class of Claims would receive if the
Debtor’s estate was liquidated under Chapter 7, the Court must consider the values that would be
generated from a liquidation of the Debtor’s assets and properties in the context of a hypothetical
liquidation under Chapter 7. From a review of the Debtor’s assets and liens, it is apparent that
liquidation would not be a feasible solution to the repayment of these Debtor’s debts.

        There are no long-term accounts receivables or residuary contact rights. Accordingly, a
Chapter 7 Trustee would need to liquidate the Debtor’s assets. It is highly likely that unsecured
creditors would receive little in a Chapter 7 liquidation of the Debtor’s estate. The Debtor has
prepared a detailed liquidation analysis which is attached hereto as Exhibit “D.”

        Thus, the Plan, which provides for the payment of secured and priority claims, retention of
the Debtor’s property, and provides a distribution to general unsecured creditors, is a superior
option to a Chapter 7 liquidation.

                c.      Feasibility.

        Section 1129(a)(11) of the Bankruptcy Code requires a finding that Confirmation of the
Plan is not likely to be followed by the liquidation, or the need for further financial reorganization,
of the Debtor or any successor in interest, unless as here, liquidation is expressly contemplated by
the Plan. The Debtor believes that it will be able to perform its obligations under the Plan and that
therefore the Plan is feasible within the meaning of Section 1129(a)(11) of the Bankruptcy Code.




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       The details of this case strongly support the feasibility of the proposed Plan and are
supported by the following attachments to this Plan:

       -       The Debtor’s Profit and Loss Statements for 2013-2017 attached hereto as Exhibit
               “E;” and

       -       The Debtor’s Projected Profit and Loss Statements for 2018-2022 attached hereto
               as Exhibit “F.”

               d.      Classification.

         Section 1122 of the Bankruptcy Code sets forth the requirements relating to classification
of claims. Section 1122(a) provides that claims or interest may be placed in a particular class only
if they are substantially similar to the other claims or interest in that class. The Debtor believes
that all Classes under the Plan satisfy the requirements of Section 1122(a). The Debtor believes
that the classification of Claims set forth in the Plan is appropriate in classifying substantially
similar Claims together, and does not discriminate unfairly in the treatment of those Classes. The
Debtor believes that the Plan adheres to the absolute priority rule and treats holders of Claims and
Interests in accordance with their contractual entitlement and applicable law.

B.     Non-Consensual Confirmation.

        The Bankruptcy Code provides for confirmation of the Plan even if it is not accepted by all
impaired Classes, as long as at least one impaired Class of Claims has accepted it (without counting
the acceptances of insiders). These so-called "cramdown" provisions are set forth in Section
1129(b) of the Bankruptcy Code. The Plan may be confirmed under the cramdown provisions if,
in addition to satisfying the other requirements of Section 1129 of the Bankruptcy Code, it (i) is
"fair and equitable" and (ii) "does not discriminate unfairly" with respect to each Class of Claims
or Interests that is impaired under, and has not accepted, such Plan.

       1.      Fair and Equitable Standard.

         With respect to a dissenting Class of unsecured creditors, the "fair and equitable" standard
requires, among other things, that the Plan contain one of two elements. It must provide either that
each unsecured creditor in the Class receive or retain property having a value, as of the Effective
Date, equal to the Allowed amount of its Claim, or that no holder of Allowed Claims or Interests
in any junior Class may receive or retain any property on account of such Claims or Interest. The
strict requirements as to the allocation of full value to dissenting Classes before junior Classes can
receive a distribution are known as the "absolute priority rule." In addition, the "fair and equitable"
standard has also been interpreted to prohibit any class senior to a dissenting class from receiving
under a plan more than one hundred percent (100%) of its Allowed Claims.

       2.      The Plan Must Not Discriminate Unfairly.

       As a further condition to approving a cramdown, the Bankruptcy Court must find that the
Plan does not "discriminate unfairly" in its treatment of dissenting Classes. A Plan of
Reorganization does not "discriminate unfairly" if (a) the Plan does not treat any dissenting
impaired Class of Claims or Interests in a manner that is materially less favorable than the

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treatment afforded to another Class with similar legal Claims against or Interests in the Debtor and
(b) no Class receives payments in excess of that which it is legally entitled to receive for its Claims
or Interests. The Debtor believes that the Plan does not discriminate unfairly as to any impaired
Class of Claims or Interests. A “new value” corollary to the absolute priority rule is addressed in
paragraph 3 below.

        If any impaired Class of Claims entitled to vote on the Plan does not accept the Plan by the
requisite majority provided in Section 1126(c) of the Bankruptcy Code, the Debtor reserves the
right to amend the Plan or undertake to have the Bankruptcy Court confirm the Plan under Section
1129(b) of the Bankruptcy Code or both. With respect to impaired Classes of Claims or Equity
Interests that are deemed to reject the Plan, the Debtor will request that the Bankruptcy Court
confirm the Plan pursuant to Section 1129(b) of the Bankruptcy Code.

       3.      The Absolute Priority Rule and New Value to be Contributed.

        The leading decision on the absolute priority rule is Bank of America National Trust and
Savings Association v. 203 North LaSalle Street Partnership, 526 U.S. 434, 442, 119 S.Ct. 1411,
1416, 143 L.Ed.2d 607 (1999), in which the U.S. Supreme Court held that the debtor’s pre-
bankruptcy equity holders could not, over the objection of a senior class of impaired creditors,
contribute new capital to retain ownership interests in the new entity, when that opportunity was
given exclusively to the old equity holders without consideration of alternatives or market
valuation. Id. at 437, 119 S.Ct. at 1414.

       Since the North LaSalle decision, a number of federal courts have held that a plan of
reorganization must:

       1. Allow for competing plans; and

       2.    Subject the opportunity to own the reorganized company to a “market place” test by
            allowing others to bid.
Cf. In re Global Ocean Carriers Ltd., 251 B.R. 31 (Bankr. De. 2000); In re Situation Management
Systems, Inc., 252 B.R. 859 (Bankr. Mass. 2000). In the present case, the exclusivity period for
filing competing plans has passed. Thus, it is not necessary for the Debtor’s Plan to specify that
competing plans are allowed.

        If the Court orders that the equity security holders must contribute new value in order to
retain their equity interest in the Debtor pursuant to 11 U.S.C. § 1129(b)(2)(B), and for such
contribution to comply with the “market place” test, immediately after entry of the Confirmation
Order, the Debtor will advertise the opportunity to purchase the Debtor in at least two newspapers
of general circulation within Alabama and at least two trade publications with circulation outside
of Alabama.

        The equity security holders’ offer of $1,000.00 as new value is based upon the following:
the Debtor is currently insolvent, based on the liquidation analysis described in detail in attached
Ex. D; should the Debtor liquidate, allowed secured creditors could expect a payout of
approximately 14% of their allowed claims; no property or residual interests would remain
following liquidation; and equity security holders would expect to receive no return from the
liquidation.
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        Further, pursuant to the terms of the plan of reorganization proposed above and the
Debtor’s projected financials in attached Ex. F, the Debtor projects to remain insolvent until the
completion of its 60-month payment plan in its the plan of reorganization. The Debtor does not
expect to pay any dividends during this 5-year period. Thus, any purchaser of the Debtor’s equity
secured interest bears the possibility that its security interest will have no value until five years
after the Effective Date.

       While the Debtor proposes its plan of reorganization in good-faith and believes that it can
successfully reorganize, there is substantial risk in any business investment for equity-security
holders, especially for an insolvent company attempting to reorganize.

       Should parties other than the current owners desire to submit competing offers to purchase
the Debtor Company, those offers shall be subject to the following terms and conditions
(hereinafter referred to as “Bidding Procedures”):

               a. Should any bids be received by the Estate, an auction will be conducted at the
               law offices of SPARKMAN, SHEPARD & MORRIS, P.C., 303 Williams Avenue
               Suite 1411, Huntsville, Alabama, 35801 on the last business day prior to the day of
               the Effective Date at 11:00 A.M (the “Auction”).

               b.      In order to participate in the Auction, a competing bidder must:

                       (1)    Present to the Estate’s attorney at least (3) business days prior to the
                       Auction Date with appropriate evidence of its financial ability to
                       consummate a contract should such party be the successful bidder at the
                       Auction;

                       (2)     At least three (3) business days prior to the Auction Date pay an
                       earnest money deposit of $1,000.00 to the Estate or suitable escrow agent.

               c.      The Estate will serve notice of competing bids on all parties requesting such
               notice, including all qualified bidders.

               d.     The Estate may accept one or more back-up offers at the conclusion of the
               Auction.

               e.     Failure to comply with the Bidding Procedures will result in the
               disqualification of any competing bidder.

               f.     Should the Estate receive no qualifying bids prior to the Auction Date, the
               Estate will cancel the auction. Accordingly, then the Estate accept the Equity
               Security Holders’ present offer of new value.




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C.     Voting Procedures and Requirements.

       1.      Voting Requirements - Generally.

       Pursuant to the Bankruptcy Code, only holders of Claims that are allowed pursuant to
Section 502 of the Bankruptcy Code and that are impaired under the terms and provisions of the
Plan are entitled to vote to accept or reject that Plan.

         All creditors who filed proofs of claim in an amount different from the amount set forth in
the Debtor’s Schedules or whose Claim was not included in the Debtor’s Schedules are treated as
the holder of a Disputed Claim under the Plan. However, all creditors whose Claims are impaired
under the Plan will be treated as holders of Allowed Claims for voting purposes only. A Claim
recorded in the Schedules or in the Clerk's records as wholly unliquidated, contingent and/or
undetermined shall be accorded one vote and valued at one dollar for purposes of Section 1126(c)
of the Bankruptcy Code, unless the holder of such Claim files with the Court and serves a request
for temporary allowance of such Claim in a greater amount for voting purposes. If a Claim is
recorded in the Schedules or in the Clerk's records as unliquidated, contingent and/or undetermined
in part, the holder of the Claim shall be entitled to vote that portion of the claim that is liquidated,
non-contingent and undisputed in the liquidated, non-contingent and undisputed amount, subject
to any limitations set forth herein and unless otherwise ordered by the Court. The Debtor’s
agreement to allow such creditors to vote on the Plan shall not waive the Debtor’s right to treat
such Claims as Disputed Claims for all other purposes.

       Pursuant to the Bankruptcy Code a class of claims or interests is "impaired" if the legal,
equitable, or contractual rights attaching to the claims or interests of that class are altered, other
than by curing defaults and reinstating maturity.

        Classes of Claims that are not impaired are not entitled to vote on the Plan, are presumed
to have accepted the Plan and will not receive a Ballot. As set forth above, the Claims in Class 1
are not impaired, and such Class of Claims is not entitled to vote on the plan and is presumed to
have accepted the Plan pursuant to Section 1126(f) of the Bankruptcy Code. The classification of
Claims and their designation as impaired or not impaired is summarized above in Section V, (A)
entitled "Classification and Treatment of Claims and Interests."

       2.      Voting Procedures.

       A Ballot for voting to accept or reject the Plan will be enclosed with each copy of the
Disclosure Statement that is sent by the Court to parties entitled to vote. In most cases, the Ballot
enclosed with this Disclosure Statement will be printed with the amount of your Claim for voting
purposes. Such amount is based on your proof of claim, the Debtor’s Schedules or an order of the
Court. All votes to accept or reject the Plan must be cast by using the Ballot enclosed with this
Disclosure Statement.




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IF YOU HAVE A CLAIM THAT IS IMPAIRED UNDER THE PLAN ENTITLING YOU
TO VOTE AND YOU DID NOT RECEIVE A BALLOT, RECEIVED A DAMAGED
BALLOT, OR LOST YOUR BALLOT, PLEASE CONTACT THE U.S. BANKRUPTCY
COURT AT (256) 353-2817. IF YOU HOLD CLAIMS IN MORE THAN ONE CLASS, YOU
MAY RECEIVE MORE THAN ONE BALLOT. YOU SHOULD COMPLETE, SIGN AND
RETURN EACH BALLOT YOU RECEIVE.

        Consistent with the provisions of Bankruptcy Rule 3018, the Court will fix a date as the
record date for determining the holders of Claims who are entitled to receive a copy of this
Disclosure Statement and to vote to accept or reject the Plan (the "Ballot Record Date"). Entities
that acquire Claims after the Ballot Record Date will not be entitled to vote on the Plan.

        Under the Bankruptcy Code, for purposes of determining whether the requisite acceptances
have been received, only those holders that vote to accept or reject the Plan will be counted. Votes
cannot be transmitted orally or by facsimile transmission. Accordingly, it is important that you
return your signed and completed Ballot(s) promptly. Failure by any holder to send a duly executed
Ballot with an original signature will be deemed an abstention by such holder with respect to a
vote on the Plan and will not be counted as vote for or against the Plan. To accept Plan, the holder
must check the box entitled "accept the Plan" on the appropriate Ballot. Any Ballot cast that does
not indicate whether the holder of the Claim or Interest is voting to accept or reject the Plan will
not be counted as either an acceptance or rejection of the Plan. A vote may be disregarded if the
Bankruptcy Court determines, after a hearing, that such acceptances or rejection was not solicited
or procured in good faith or other in accordance with the provision of the Bankruptcy Code or if a
Claim was voted in bad faith.

       3.      Voting Deadline.

        Voting on the Plan by each holder of a Claim in an Impaired Class is important. After
carefully reviewing the Plan and this Disclosure Statement, please indicate your vote on each
Ballot and return it in the pre-addressed envelope provided for this purpose.

IN ORDER TO BE COUNTED, BALLOTS MUST BE SIGNED AND RETURNED SO
THAT THEY ARE RECEIVED EITHER BY THE U.S. BANKRUPTCY COURT NO
LATER THAN 4:30 P.M. CENTRAL STANDARD TIME ON THE DATE SET BY THE
COURT (THE "VOTING DEADLINE”). TO HAVE YOUR VOTE COUNT, YOU MUST
COMPLETE, SIGN AND RETURN THE BALLOT TO:

       Clerk
       U.S. Bankruptcy Court
       P.O. Box 2775
       Decatur, Alabama 35602

PLEASE FOLLOW THE DIRECTIONS CONTAINED ON THE ENCLOSED BALLOT
CAREFULLY. BALLOTS THAT ARE RECEIVED AFTER THE VOTING DEADLINE
WILL NOT BE ACCEPTED OR USED BY THE DEBTOR IN SEEKING
CONFIRMATION OF THE PLAN. IT IS OF THE UTMOST IMPORTANCE TO
DEBTOR THAT YOU VOTE PROMPTLY TO ACCEPT THE PLAN.


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       Respectfully submitted this the 27th day of December, 2018.



                                             JIT INDUSTRIES, INC.



                                             /s/ Ginger McComb
                                             Ginger McComb, President



                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard


Of Counsel:

SPARKMAN, SHEPARD & MORRIS, P.C.
P. O. Box 19045
Huntsville, AL 35804
Tel: (256) 512-9924
Fax: (256) 512-9837




                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing document upon all the parties
listed on the Clerk’s Certified Matrix and Richard M. Blythe, Office of the Bankruptcy
Administrator, by electronic service through the Court’s CM/ECF system and/or by placing a copy
of same in the United States Mail, postage pre-paid.


       Respectfully submitted, this the 27th day of December, 2018.



                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard




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           DEBTOR’S SUMMARY OF CHAPTER 11 OPERATING REPORTS


April 2018
       Total Monthly Sales                                 $ 167,737.44
       Total Monthly Receipts                              $ 138,773.72
       Cost of Goods Sold                                  $ 86,717.89
       Operating Expenses                                  $ 88,170.05
       Net Profit/Loss                                     $ 1,149.52

May 2018
      Total Monthly Sales                                  $ 101,858.51
      Total Monthly Receipts                               $ 129,444.33
      Cost of Goods Sold                                   $ 29,032.76
      Operating Expenses                                   $ 55,846.72
      Net Profit/Loss                                      $ 16,961.03

June 2018
       Total Monthly Sales                                 $ 149,611.92
       Total Monthly Receipts                              $ 136,081.03
       Cost of Goods Sold                                  $ 18,705.44
       Operating Expenses                                  $ 64,403.58
       Net Profit/Loss                                     $ 66,502.90

July 2018
       Total Monthly Sales                                 $ 162,279.32
       Total Monthly Receipts                              $ 149,000.71
       Cost of Goods Sold                                  $ 29,452.98
       Operating Expenses                                  $ 75,226.63
       Net Profit/Loss                                     $ 59,599.71

August 2018
       Total Monthly Sales                                 $ 138,123.83
       Total Monthly Receipts                              $ 111,816.73
       Cost of Goods Sold                                  $ 49,281.78
       Operating Expenses                                  $ 76,197.39
       Net Profit/Loss                                     $ 7,644.66

September 2018
      Total Monthly Sales                                  $ 282,758.27
      Total Monthly Receipts                               $ 113,336.09
      Cost of Goods Sold                                   $ 159,279.05
      Operating Expenses                                   $ 80,458.54
      Net Profit/Loss                                      $ 43,020.68




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     FACTUAL AVERMENTS FOR A POTENTIAL ADVERSARY PROCEEDING
                                              Parties

         1.    JIT is an Alabama corporation headquartered in Morgan County, Alabama. It is the
Debtor-in-Possession in the above-styled Chapter 11 bankruptcy case.

         2.    Rod Hill, based on information and belief, is a resident of Madison County,
Alabama and a general partner and receiver of Military Sales. Rod Hill is a creditor of JIT. He, as
receiver, qualifies as an insider pursuant to 11 U.S.C. § 101(31)(B)(iv).

         3.    Phillip Hill, based on information and belief, is a resident of Madison County,
Alabama and a general partner and receiver of Military Sales. Phillip Hill is a creditor of JIT. He,
as receiver, qualifies an insider pursuant to 11 U.S.C. § 101(31)(B)(iv).

         4.    Danny Overbee, based on information and belief, is a resident of Morgan County,
Alabama and a general partner and receiver of Military Sale. Danny Overbee is a creditor of JIT.
He, as receiver, qualifies an insider pursuant to 11 U.S.C. § 101(31)(B)(iv).

                               History of JIT and Military Sales

         5.    Between the years of 2009 and 2017, JIT operated on the understanding that
Military Sales constituted a subsidiary of JIT.

         6.    In April 2017, however, an Alabama state court (the “State Court”) found that
Military Sales was, in fact, an entity separate and distinct from JIT, with JIT only owning 10% of
the Military Sales general partnership.

         7.    Today, JIT is unsure whether it has an ownership interest in Military Sales.

         8.    JIT understands that sometime in the fall of 2017, the Defendants in this action
claim to have foreclosed on JIT’s 10% interest in Military Sales.

         9.    Defendants’ proof of claim on file in JIT’s Bankruptcy Case, [Claims Doc. 9-1],
does not reflect any credit for consideration paid at the foreclosure of JIT’s interest in Military
Sales.




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        10.     Further, JIT has no record of receiving any payment for its allegedly foreclosed
interest in Military Sales.

        11.     In a deposition on September 13, 2018, Philip Hill testified that as of May 2014,
the Debtor’s interest in Military Sales was worth $679,000.00. P. Hill dep., p. 91, ¶¶ 10-18.

        12.     If the foreclosure by these Defendants actually occurred, JIT did not receive fair
value in exchange for its interest in Military Sales.

        13.     JIT seeks to avoid the transfer of its membership interest in Military Sales as a
fraudulent transfer and a preference.

                                        Seizure of JIT’s Funds

        14.     On May 19, 2017, the State Court appointed these Defendants, Rod Hill, Danny
Overbee, and Phillip Hill as Military Sale’s receivers (the “Receivers”).

        15.     Under applicable Alabama law, the appointment of a receiver is specifically
governed by Ala. Code § 6-6-620, et seq., and the rules promulgated by the Supreme Court of
Alabama. See Rule 66, Ala. R. Civ. P. The appointment of a receiver involves “[I]dentifying,
marshalling, receiving, and liquidating” assets in furtherance of court order, judgment or loan
agreement. Menchise v. Akerman Senterfitt, 532 F.3d 1146, 1148 (11th Cir. 2008).


        16.     The Receivers took possession of funds totaling $691,960.69 via two checks paid
from People’s Bank of Alabama (the “Bank”).

        17.     According to records obtained from the Bank, JIT was its sole customer – the bank
had no accounts for Military Sales. Matthew McComb and Ginger McComb were the sole
signatories on the Bank’s applicable corporate resolutions and signature cards.

        18.     Accordingly, when these Defendants took $691,960.69 from the Bank, they
obtained funds the Bank’s records showed as belonging to JIT and not Military Sales.

        19.     The Debtor seeks turnover of its Bank funds in the possession of these Defendants.




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       20.     In the alternative, JIT seeks to avoid the transfer of the Bank funds to these
Defendants in their capacity as receivers as a fraudulent conveyance and a preference.

       21.     Upon information and belief, JIT understands that, rather than marshal and
safeguard these funds, the three Defendants abandoned their duties as Receivers and kept the
money for themselves; Rod Hill and Philip Hill testified to as much in depositions on September
12-13, 2018 and September 13, 2018, respectively.

       22.     Consequently, JIT seeks to recover the transfer of the bank funds from these
Defendants in their individual capacity as subsequent transferees as defined by § 550 of the
Bankruptcy Code.




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                                  NORTHERN DISTRICT OF ALABAMA
                                          Claims Register
                                                   18-80892-CRJ11 JIT Industries, Inc.

                                        Judge: Clifton R. Jessup, Jr.       Chapter: 11
                                        Ofﬁce: Decatur                      Last Date to ﬁle claims:
                                        Trustee:                            Last Date to ﬁle (Govt):
  Creditor:          (9696620)                          Claim No: 1                                       Status: Withdraw 70
                                 
  Wells Fargo Financial Leasing, Inc.                                 
                                                        Original Filed Date: 04/06/2018                   Filed by: CR         
  800 Walnut Street                                                                      
                                                        Original Entered Date: 04/06/2018                 Entered by: admin 
  MAC F0005­055                                                                                           Modified:          
                        
  Des Moines, IA 50309          
    Amount claimed: $14169.54         

  History:
  Details          1­1    04/06/2018 Claim #1 filed by Wells Fargo Financial Leasing, Inc., Amount claimed: $14169.54 (admin)
                   70     07/27/2018 Withdrawal of Claims: 1 Filed by Wells Fargo Financial Leasing, Inc . (bng) Status: Withdraw
  Description:
  Remarks: (1­1) Account Number (last 4 digits):2539 

  Creditor:          (9681289)    History             Claim No: 2                                          Status: 
  *Internal Revenue Service                                         
                                                      Original Filed Date: 04/12/2018                               
                                                                                                           Filed by: CR 
  PO Box 7346                                                                          
                                                      Original Entered Date: 04/12/2018                    Entered by: Patricia Waln 
                    
  Philadelphia, PA 19101­7346                         Last Amendment Filed: 09/07/2018                     Modified:                  
                                                      Last Amendment Entered: 09/07/2018 
                                                                                                       
    Amount claimed: $3120.00         
    Secured claimed:   $0.00         
    Priority claimed:  $0.00         

  History:
  Details          2­1    04/12/2018 Claim #2 filed by *Internal Revenue Service, Amount claimed: $300.00 (Waln, Patricia)
  Details          2­2    04/25/2018 Amended Claim #2 filed by *Internal Revenue Service, Amount claimed: $200.00 (Waln,
                                     Patricia)
   Details         2­3    05/14/2018 Amended Claim #2 filed by *Internal Revenue Service, Amount claimed: $100.00 (Waln,
                                     Patricia)
   Details         2­4    07/05/2018 Amended Claim #2 filed by *Internal Revenue Service, Amount claimed: $3220.00 (Waln,
                                     Patricia)
                   55     07/09/2018 Debtor's Objection to Claim # 2 Filed by Debtor JIT Industries, Inc.. (Shepard, Tazewell)
   Details         2­5    08/06/2018 Amended Claim #2 filed by *Internal Revenue Service, Amount claimed: $3220.00 (O'Neal,
                                     Richard)
   Details         2­6    09/07/2018 Amended Claim #2 filed by *Internal Revenue Service, Amount claimed: $3120.00 (Waln,
                                     Patricia)
  Description:
  Remarks:

  Creditor:          (9681288)    History      Claim No: 3                         Status: 
  *Harrison Gammons & Rawlinson                              
                                               Original Filed Date: 04/25/2018              
                                                                                   Filed by: CR 
  2430 L and N Drive SW                                                         
                                               Original Entered Date: 04/25/2018   Entered by: admin 
                             
  Huntsville, AL 35801                                                             Modified:          
  History:
   Details          3­1 04/25/2018 Claim #3 filed by *Harrison Gammons & Rawlinson, Amount claimed: $47090.58 (admin)
  Description:
  Remarks: (3­1) Account Number (last 4 digits):3912 
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    Amount claimed: $47090.58         
  History:
  Details           3­1    04/25/2018 Claim #3 filed by *Harrison Gammons & Rawlinson, Amount claimed: $47090.58 (admin)
  Description:
  Remarks: (3­1) Account Number (last 4 digits):3912 

  Creditor:          (9732849)                          Claim No: 4                                       Status: 
  Spectrum Mfg. & Sales, Inc.                                         
                                                        Original Filed Date: 05/14/2018                            
                                                                                                          Filed by: CR 
  1951 Hampshire Rd.                                                                     
                                                        Original Entered Date: 05/14/2018                 Entered by: admin 
                           
  Columbus, OH 43221­4116                                                                                 Modified:          
    Amount claimed: $1830.00         

  History:
  Details           4­1    05/14/2018 Claim #4 filed by Spectrum Mfg. & Sales, Inc., Amount claimed: $1830.00 (admin)
  Description:
  Remarks:


  Creditor:          (9735860)                          Claim No: 5                                       Status: 
                                 
  Cavanaugh Government Group, LLC                                     
                                                        Original Filed Date: 05/17/2018                            
                                                                                                          Filed by: CR 
  8432 Beloit Avenue                                                                     
                                                        Original Entered Date: 05/17/2018                 Entered by: admin 
                          
  Bridgeview, IL 60455                                                                                    Modified:          
    Amount claimed: $1156.80         

  History:
  Details           5­1    05/17/2018 Claim #5 filed by Cavanaugh Government Group, LLC, Amount claimed: $1156.80 (admin)
  Description:
  Remarks:

  Creditor:          (9739879)                          Claim No: 6                                       Status: 
  MSC Industrial Supply                                               
                                                        Original Filed Date: 05/22/2018                            
                                                                                                          Filed by: CR 
  75 Maxess road                                                                         
                                                        Original Entered Date: 05/22/2018                 Entered by: admin 
                       
  Melville, NY 11747                                                                                      Modified:          
    Amount claimed: $1662.58         

  History:
  Details           6­1    05/22/2018 Claim #6 filed by MSC Industrial Supply, Amount claimed: $1662.58 (admin)
  Description:
  Remarks: (6­1) Account Number (last 4 digits):3847 


  Creditor:          (9726383)                          Claim No: 7                                       Status: 
  Allied Electronics                                                  
                                                        Original Filed Date: 07/09/2018                            
                                                                                                          Filed by: CR 
                        
  7151 Jack Newell Boulevard S.                                                          
                                                        Original Entered Date: 07/12/2018                 Entered by: bng 
  Fort Worth, TX 76118                                                                                    Modified:        
    Amount claimed: $367.60         

  History:
  Details          7­1 07/09/2018 Claim #7 filed by Allied Electronics, Amount claimed: $367.60 (bng)
                   82 09/21/2018 Debtor's Objection to Claim # 7 Debtor's Objection to Proof of Claim of Allied Electronics, Inc.
                                  Filed by Debtor JIT Industries, Inc.. (Shepard, Tazewell)
  Description: (7­1) Goods Sold
                                
  Remarks:




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  Creditor:          (9820117)                          Claim No: 8                                       Status: 
  The City of Huntsville                                              
                                                        Original Filed Date: 08/09/2018                            
                                                                                                          Filed by: CR 
  c/o Stuart M. Maples                                                                   
                                                        Original Entered Date: 08/09/2018                 Entered by: Stuart M Maples 
  Maples Law Firm, PC                                                                                     Modified:                    
  200 Clinton Ave. W.  
  Ste. 1000               
              
  Huntsville, AL 35801          
    Amount claimed: $157.44         
    Priority claimed: $107.44         

  History:
  Details           8­1    08/09/2018 Claim #8 filed by The City of Huntsville, Amount claimed: $157.44 (Maples, Stuart)
  Description: (8­1) taxes and penalties
                                         
  Remarks:

  Creditor:          (9681295)                          Claim No: 9                                       Status: 
  Philip Hill                                                         
                                                        Original Filed Date: 08/09/2018                            
                                                                                                          Filed by: CR 
              
  3155 Hurricane Road                                                                    
                                                        Original Entered Date: 08/09/2018                 Entered by: Kevin C Gray 
                            
  New Market, AL 35761                                                                                    Modified:                 
    Amount claimed: $1168865.96         
    Secured claimed: $1168865.96         

  History:
  Details          9­1    08/09/2018 Claim #9 filed by Philip Hill, Amount claimed: $1168865.96 (Gray, Kevin)
                   72     08/27/2018 Objection to Claim # 9 with Request for Valuation of Security Filed by Debtor JIT Industries,
                                     Inc.. (Shepard, Tazewell)
  Description: (9­1) Civil Judgment
                                    
  Remarks:


  Creditor:          (9681290)                          Claim No: 10                                      Status: 
  JIT Military Sales                                                    
                                                        Original Filed Date: 08/16/2018                            
                                                                                                          Filed by: CR 
                        
  26670 Success Drive SW                                                                 
                                                        Original Entered Date: 08/16/2018                 Entered by: Tazewell Taylor Shepard, IV 
  Madison, AL 35756                                                                                       Modified:                                
  No amounts claimed
  History:
  Details          10­1 08/16/2018 Claim #10 filed by JIT Military Sales, Amount claimed: (Shepard, Tazewell)
  Description: (10­1) Unliquidated lawsuit
                                           
  Remarks:



                                                          Claims Register Summary
                                                         Case Name: JIT Industries, Inc.
                                                         Case Number: 18-80892-CRJ11
                                                                  Chapter: 11
                                                             Date Filed: 03/23/2018
                                                          Total Number Of Claims: 10

                                                   Total Amount Claimed*   $1238420.50  
                                                   Total Amount Allowed*              
                                                      *Includes general unsecured claims

        The values are reﬂective of the data entered. Always refer to claim documents for actual amounts.

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                                                                                 Claimed         Allowed
                                                    Secured                 $1168865.96
                                                    Priority                     $107.44
                                                    Administrative




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                             DEBTOR’S LIQUIDATION ANALYSIS


REAL PROPERTY – N/A

PERSONAL PROPERTY:

   a. Unencumbered cash-on-hand (as of September 30, 2018)                           $ 96,390.81

   b. Equipment (organized by classes in Plan of Reorganization):

      Class 1 – Hill/Hill/Overbee
             Creditor’s Value of Collateral                                     $100,000.00
             Creditor’s Claim Amount                                            $100,000.00
             Assumption: Creditor repossesses collateral in exchange for satisfaction of debt.

   c. Additional property free and clear of liens
             Account recoverable (as of September 30, 2018)                          $113,336.09
                   (less 30% discount for collectability)                            $ 79,335.26

             Title Vehicles and Other Property                                       $   5.218.00
                    (less 30% liquidation value)                                     $   3,652.60

FUNDS AVAILABLE FOR PRIORITY AND GENERAL UNSECURED CREDITORS                         $ 176,533.88


SATISFACTION OF DEBTS / CLASS DISTRIBUTION IN A HYPOTHETICAL LIQUIDATION

      Class 1 – Satisfied.

      Class 2-3 – Partially satisfied as follows:

             All Administrative Expenses
                   Satisfied.
                           Unpaid taxes – estimated at $107.44
                           Unpaid attorney’s fees – estimated at $15,000.00 as of the filing of
                           this Disclosure Statement

             All junior priority and non-priority creditors
                     Satisfied to the extent fees are approved and cash is available for payment.
                     Estimated recovery – Approximately $0.14 on the dollar of allowed
                     unsecured claims, before accounting for Chapter 7 trustee expenses.

      Class 4 – No distribution; equity-holder interests are totally extinguished.




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12:13 PM                                           JIT Industries, Inc.
11/02/18                                            Profit & Loss
Accrual Basis                              January through December 2013

                                                                             Jan - Dec 13
                    Ordinary Income/Expense
                         Income
                            50000 · Revenue                                       47,276.60

                           55000 · Sales                                       1,881,613.28

                           56000 · Shipping & Freight Fee Income                  41,310.89
                           57000 · Finance & Credit Card Income                    1,642.76

                         Total Income                                          1,971,843.53

                         Cost of Goods Sold
                           51100 · Freight and Shipping Costs                     91,851.06
                           60000 · Direct Costs                                  927,367.19

                           61500 · Cost of Goods Sold                            229,195.08
                           69000 · Discounts-Sales                                 4,282.90

                         Total COGS                                            1,252,696.23

                      Gross Profit                                               719,147.30

                         Expense
                           22501 · Cafeteria Admin Fee WH                              3.00
                           66900 · Reconciliation Discrepancies                        0.00
                           68000 · MFG/Shop Operating Costs                      144,555.02

                           70000 · ALL SALARY & WAGES                            341,332.48

                           71001 · G & A Salaries & Wages                         24,393.76

                           71750 · Depreciation                                   53,859.79
                           71800 · Meals                                             448.19
                           71825 · Fuel                                            6,890.83
                           71840 · Advertising/ Contributions                        619.16
                           71850 · Travel                                              0.00
                           71950 · Miscellaneous                                   4,326.64
                           72525 · Accounting                                     24,623.50
                           72550 · Bank Charges                                   13,438.67

                           72575 · Consulting Service                                200.00
                           72580 · IT Services                                       400.00
                           72600 · Contract/Casual Labor                           5,377.56
                           72640 · Penalities & Fines                                130.76
                           72650 · Dues & Subscriptions                            1,748.52
                           72675 · Insurance - General                            86,830.87
                           72725 · Legal & Professional Services                     842.00
                           72775 · Taxes & Licenses (NON PAYROLL)                  7,622.00
                           72810 · Medical Expense                                   256.00
                           74000 · Facilities                                     92,680.47

                         Total Expense                                           810,579.22

                    Net Ordinary Income                                          -91,431.92

                    Other Income/Expense
                      Other Income
                         80000 · Other Income                                     87,528.38

                      Total Other Income                                          87,528.38

                      Other Expense
                        92000 · Product Warranty                                  15,252.18




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11/02/18                                             Profit & Loss
Accrual Basis                               January through December 2013

                                                                            Jan - Dec 13
                         99976 · InVision K-1 tax                                42,858.61

                      Total Other Expense                                        58,110.79

                    Net Other Income                                             29,417.59

                  Net Income                                                    -62,014.33




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11/02/18                                                  Profit & Loss
Accrual Basis                                   January through December 2014

                                                                                Jan - Dec 14
                    Ordinary Income/Expense
                         Income
                            55000 · Sales                                         2,188,266.00

                               56000 · Shipping & Freight Fee Income                 47,741.40
                               57000 · Finance & Credit Card Income                     707.25

                         Total Income                                             2,236,714.65

                         Cost of Goods Sold
                           51100 · Freight and Shipping Costs                        80,856.88
                           60000 · Direct Costs                                   1,226,200.14

                               61500 · Cost of Goods Sold                            59,514.04
                               69000 · Discounts-Sales                                3,919.40

                         Total COGS                                               1,370,490.46

                      Gross Profit                                                  866,224.19

                         Expense
                           22501 · Cafeteria Admin Fee WH                               -64.00
                           68000 · MFG/Shop Operating Costs                         120,838.19

                               70000 · ALL SALARY & WAGES                           322,389.94

                               71001 · G & A Salaries & Wages                       -11,268.85

                               71750 · Depreciation                                  41,393.85
                               71800 · Meals                                          1,987.99
                               71825 · Fuel                                           6,452.13
                               71840 · Advertising/ Contributions                     2,079.66
                               71850 · Travel                                         5,438.31
                               71950 · Miscellaneous                                    912.52
                               72525 · Accounting                                    18,915.00
                               72550 · Bank Charges                                   7,239.10

                               72580 · IT Services                                    1,525.00
                               72600 · Contract/Casual Labor                          5,214.95
                               72650 · Dues & Subscriptions                           1,472.29
                               72675 · Insurance - General                          101,887.24
                               72725 · Legal & Professional Services                  1,381.33
                               72775 · Taxes & Licenses (NON PAYROLL)                 9,205.85
                               73000 · Business Development                             385.75

                               74000 · Facilities                                    54,576.18

                               8700 · Material Handling                                  44.00

                         Total Expense                                              692,006.43

                    Net Ordinary Income                                             174,217.76

                    Other Income/Expense
                      Other Income
                         80000 · Other Income                                       -79,565.28

                      Total Other Income                                            -79,565.28

                      Other Expense
                        92000 · Product Warranty                                          0.00

                         99999 · Ask My Accountant                                       -0.02
                         9999999 · Adjustment account                                     0.00

                      Total Other Expense                                                -0.02

                    Net Other Income                                                -79,565.26

                  Net Income                                                         94,652.50


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11/02/18                                            Profit & Loss
Accrual Basis                               January through December 2015

                                                                             Jan - Dec 15
                    Ordinary Income/Expense
                         Income
                            49900 · Uncategorized Income                               0.00
                            55000 · Sales                                      1,848,035.03

                           56000 · Shipping & Freight Fee Income                  48,447.28
                           57000 · Finance & Credit Card Income                      673.32

                           58000 · Terms Discount                                    232.76

                         Total Income                                          1,897,388.39

                         Cost of Goods Sold
                           51100 · Freight and Shipping Costs                     63,396.14
                           60000 · Direct Costs                                1,309,198.99

                           61500 · Cost of Goods Sold                             34,966.05
                           68250 · Direct-Meals & Entertainment                       23.44
                           69000 · Discounts-Sales                                 7,130.67

                         Total COGS                                            1,414,715.29

                      Gross Profit                                               482,673.10

                         Expense
                           22501 · Cafeteria Admin Fee WH                            213.00
                           66900 · Reconciliation Discrepancies                        0.00
                           67001 · Vendor Sales Tax                                   27.23
                           68000 · MFG/Shop Operating Costs                      110,076.01

                           70000 · ALL SALARY & WAGES                            263,829.32

                           71001 · G & A Salaries & Wages                              1.13

                           71750 · Depreciation                                   32,660.69
                           71800 · Meals                                           1,022.15
                           71825 · Fuel                                            6,406.02
                           71840 · Advertising/ Contributions                        399.00
                           71850 · Travel                                          4,262.35
                           71910 · Contributions                                      20.00
                           71950 · Miscellaneous                                  41,067.26
                           72525 · Accounting                                     10,535.00
                           72550 · Bank Charges                                   44,972.81

                           72575 · Consulting Service                                150.00
                           72580 · IT Services                                     2,021.39
                           72600 · Contract/Casual Labor                           3,600.00
                           72650 · Dues & Subscriptions                            4,461.41
                           72675 · Insurance - General                           145,274.83
                           72725 · Legal & Professional Services                     707.00
                           72775 · Taxes & Licenses (NON PAYROLL)                  7,134.29
                           72810 · Medical Expense                                   673.60
                           73000 · Business Development                            2,404.17

                           74000 · Facilities                                     63,148.04

                         Total Expense                                           745,066.70

                    Net Ordinary Income                                         -262,393.60

                    Other Income/Expense
                      Other Income
                         80000 · Other Income                                      3,384.69

                      Total Other Income                                           3,384.69

                      Other Expense
                        92000 · Product Warranty                                   8,503.75




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11/02/18                                             Profit & Loss
Accrual Basis                               January through December 2015

                                                                            Jan - Dec 15
                         99976 · InVision K-1 tax                                66,892.00
                         99999 · Ask My Accountant                                    0.00

                      Total Other Expense                                        75,395.75

                    Net Other Income                                            -72,011.06

                  Net Income                                                   -334,404.66




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11/02/18                                            Profit & Loss
Accrual Basis                              January through December 2016

                                                                             Jan - Dec 16
                    Ordinary Income/Expense
                         Income
                            55000 · Sales                                      1,596,392.41

                           56000 · Shipping & Freight Fee Income                  33,365.74
                           57000 · Finance & Credit Card Income                    3,219.87

                           58000 · Terms Discount                                 -8,351.21

                         Total Income                                          1,624,626.81

                         Cost of Goods Sold
                           51100 · Freight and Shipping Costs                     53,391.77
                           60000 · Direct Costs                                  577,949.70

                           61500 · Cost of Goods Sold                            277,484.21
                           69000 · Discounts-Sales                                     0.00

                         Total COGS                                              908,825.68

                      Gross Profit                                               715,801.13

                         Expense
                           22501 · Cafeteria Admin Fee WH                             54.00
                           66900 · Reconciliation Discrepancies                     -190.00
                           67001 · Vendor Sales Tax                                2,196.98
                           68000 · MFG/Shop Operating Costs                      181,209.84

                           70000 · ALL SALARY & WAGES                             22,718.48

                           71001 · G & A Salaries & Wages                        304,732.75

                           71750 · Depreciation                                   30,322.90
                           71800 · Meals                                           1,437.31
                           71825 · Fuel                                            2,823.05
                           71840 · Advertising/ Contributions                      1,156.70
                           71850 · Travel                                            882.69
                           71910 · Contributions                                       0.00
                           71950 · Miscellaneous                                      45.60
                           72525 · Accounting                                     10,974.35
                           72550 · Bank Charges                                   57,385.37

                           72575 · Consulting Service                                  0.00
                           72580 · IT Services                                     1,798.50
                           72600 · Contract/Casual Labor                               0.00
                           72640 · Penalities & Fines                              1,053.49
                           72650 · Dues & Subscriptions                            1,669.99
                           72675 · Insurance - General                            92,899.68
                           72725 · Legal & Professional Services                     300.00
                           72775 · Taxes & Licenses (NON PAYROLL)                  6,155.20
                           72810 · Medical Expense                                   157.00
                           74000 · Facilities                                     61,764.34

                         Total Expense                                           781,548.22

                    Net Ordinary Income                                          -65,747.09

                    Other Income/Expense
                      Other Income
                         80000 · Other Income                                    577,528.58

                      Total Other Income                                         577,528.58

                      Other Expense
                        13950 · LOSS FROM INVISION                                42,701.00
                        14450 · LOSS ON DISPOSAL OF EQUPMENT                      13,392.61
                        92000 · Product Warranty                                       0.00




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11/02/18                                             Profit & Loss
Accrual Basis                               January through December 2016

                                                                            Jan - Dec 16
                         99999 · Ask My Accountant                                    0.00

                      Total Other Expense                                        56,093.61

                    Net Other Income                                            521,434.97

                  Net Income                                                    455,687.88




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11/02/18                                                Profit & Loss
Accrual Basis                                   January through December 2017

                                                                                Jan - Dec 17
                    Ordinary Income/Expense
                         Income
                            55000 · Sales                                         1,583,315.31

                               56000 · Shipping & Freight Fee Income                 39,541.09
                               57000 · Finance & Credit Card Income                   1,352.50

                               58000 · Terms Discount                                -5,020.61

                         Total Income                                             1,619,188.29

                         Cost of Goods Sold
                           51100 · Freight and Shipping Costs                        67,189.69
                           60000 · Direct Costs                                     425,272.99

                               61500 · Cost of Goods Sold                           370,574.72

                         Total COGS                                                 863,037.40

                      Gross Profit                                                  756,150.89

                         Expense
                           66900 · Reconciliation Discrepancies                         556.43
                           67001 · Vendor Sales Tax                                   1,387.30
                           68000 · MFG/Shop Operating Costs                          35,762.14

                               69800 · Uncategorized Expenses                            28.50
                               70000 · ALL SALARY & WAGES                            25,411.75

                               71001 · G & A Salaries & Wages                       196,098.58

                               71825 · Fuel                                           6,363.42
                               71840 · Advertising/ Contributions                     4,056.29
                               71950 · Miscellaneous                                     75.00
                               72525 · Accounting                                     9,235.03
                               72550 · Bank Charges                                  13,220.94

                               72580 · IT Services                                    1,794.10
                               72600 · Contract/Casual Labor                            363.44
                               72650 · Dues & Subscriptions                           3,903.33
                               72675 · Insurance - General                           52,564.74
                               72725 · Legal & Professional Services                 59,813.58
                               72775 · Taxes & Licenses (NON PAYROLL)               141,480.60
                               73000 · Business Development                           4,879.90

                               74000 · Facilities                                    45,237.11

                         Total Expense                                              602,232.18

                    Net Ordinary Income                                             153,918.71

                    Other Income/Expense
                      Other Income
                         80000 · Other Income                                      -813,799.56

                      Total Other Income                                           -813,799.56

                      Other Expense
                        99999 · Ask My Accountant                                         0.00
                        9999999 · Adjustment account                                      0.00

                      Total Other Expense                                                 0.00

                    Net Other Income                                               -813,799.56

                  Net Income                                                       -659,880.85




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